Case 5:23-cv-00728-HE Document 1-3 Filed 08/16/23 Page 1 of 5




                  Exhibit
                  Exhibit 3
              Case 5:23-cv-00728-HE Document 1-3 Filed 08/16/23 Page 2 of 5


                   I) ]                                                           FILED IN DISTRICT COURT
       O95 BT ts                    IN THE DISTRICT COURT OF                            OKLAHOMA COUNTY
                          OKLAHOMA COUNTY, STATE OF OKLAHOMA
                                                                                                 JUL 1 7 2023
                                                         )
 JOHN DOE, Individually, and on behalf                                                       RICK WARREN
                                                         )                                   COURT     CLERK
 of all others similarly situated,                   )                                  88
                                                     )
                   Plaintiff                         )
                                                     )       Case No.: CJ-23-3801
 Vv.                                                 )
                                                     )
 INTEGRIS HEALTH, INC.,                              )       Attorney Lien Claimed
                                                     )
                   Defendant.                        )
                                                     )
                                                     )


   PLAINTIFF’S MOTION            FOR PERMISSION TO PROCEED                  UNDER A PSEUDONYM

         1.       This case arises from the non-consensual intrusion and disclosure into Plaintiff's

personal and private matters — namely his protected health information.

         2.       Plaintiff requests permission to proceed under pseudonyms to protect his identity

and his medical information from further public disclosure.

         3.       Plaintiff also moves the court to order Defendant to maintain the confidentiality of

his identity by using only pseudonyms in all of their filings, including all exhibits in which his

name appears.

        4.        Plaintiff John Doe is an adult male citizen of Oklahoma.

        5.        The Petition was filed on July 10, 2023.

        6.       Plaintiff will disclose his identity to the Court and Defendant at the direction of

the Court.

        7.       Due to the nature of the claims of this case and the damages alleged, this case

necessarily    involves   examination   and consideration     of Plaintiff’s physical   health    status and
                  Case 5:23-cv-00728-HE Document 1-3 Filed 08/16/23 Page 3 of 5



 diagnoses and — importantly — his efforts to seek health treatments through Defendant’s electronic

 systems.

             8.       Plaintiff used pseudonyms to protect his identity from being released due to the

 highly personal and potentially stigmatizing medical information at issue, and the desire to prevent

 his private personal medical information from being spread further.

             9.       There are several factors which weigh in favor of allowing Plaintiff to proceed

 pseudonymously and entering an order that all parties use Plaintiff’ s pseudonyms in all documents
                                                                                                    .

             10.      The first is the potential for embarrassment and social stigmatization given the

 nature of the Petition regarding the physical health, treatment, prior diagnoses, and care sought
                                                                                                   by
Plaintiff.

         11.          Moreover,     Plaintiff's claims sound in intrusion upon       seclusion into Plaintiff's

private and personal affairs. By allowing Plaintiff to proceed pseudonymously, Plaintiff
                                                                                         seeks to
limit his damages further, by limiting, to the extent possible, the necessity of his name
                                                                                          on public

dockets and filings with his medical records.

         12.         Additionally, there is a lack of any prejudice to Defendant, actual or otherwise.

Courts routinely enter stipulated orders protecting the personal medical information of
                                                                                        parties
which    include       forbidding    the   disclosure   of identifiable   personal   information   or personal

identifiable information.

         13.         Plaintiff does not seek to seal the case, nor does he desire the facts to be shielded

from the public eye — Plaintiff merely seeks to prevent the disclosure of his actual
                                                                                     name as part

of a public record.

        14.          There is no public interest in the disclosure of Plaintiff’ s identity.
          Case 5:23-cv-00728-HE Document 1-3 Filed 08/16/23 Page 4 of 5



        15.     For the reasons stated above, Plaintiff seeks an order requesting permission to

proceed under pseudonyms to protect his identity from public disclosure. As stated, Plaintiff will

disclose his identity to the Court and the Defendant.

        16.   _ Plaintiff also moves the court to order Defendant to maintain the confidentiality of

his identity by using only pseudonyms in all of their filings, including all exhibits in which
                                                                                               his

name appears.

                                                         Respectfully submitted,



                                                    MY) ll
                                                         Matthew D. Alison
                                                         Jason B. Aamodt, OBA # 16974
                                                         Matthew D. Alison, OBA # 32723
                                                         INDIAN & ENVIRONMENTAL LAW
                                                         GROUP, PLLC
                                                        406 South Boulder Ave., Suite 830
                                                        Tulsa, Oklahoma 74103
                                                        (918) 347-6169
                                                        (918) 948-6190 (facsimile)
                                                        jason@iaelaw.com
                                                        matthew@iaelaw.com

                                                        Lynn A. Toops (No. 26386-49)
                                                        Mary Kate Dugan (No. 37623-49)
                                                        COHEN & MALAD, LLP
                                                        One Indiana Square, Suite 1400
                                                        Indianapolis, Indiana 46204
                                                        (317) 636-6481
                                                        ltoops@cohenandmalad.com
                                                        mdugan@cohenandmalad.com

                                                        J. Gerard Stranch, IV (Pro Hac Vice
                                                        forthcoming)
                                                        Andrew E. Mize (Pro Hac Vice
                                                        forthcoming)
                                                        STRANCH, JENNINGS & GARVEY,
                                                        PLLC
                                                        223 Rosa L. Parks Avenue, Suite 200
                                                        Nashville, Tennessee 37203
                                                        (615) 254-8801
          Case 5:23-cv-00728-HE Document 1-3 Filed 08/16/23 Page 5 of 5




                                               (615) 255-5419 (facsimile)
                                               gstranch@stranchlaw.com
                                               amize@stranchlaw.com

                                               Samuel J. Strauss (Pro Hac Vice forthcoming)
                                               Raina Borelli (Pro Hac Vice forthcoming)
                                               TURKE & STRAUSS, LLP
                                               613 Williamson St., Suite 201
                                               Madison, Wisconsin 53703
                                               (608) 237-1775
                                               sam@turkestrauss.com
                                               raina@turkestrauss.com

                                               Counsel for Plaintiff
                                                                  and the Proposed Class



                                 CERTIFICATE OF SERVICE

        I hereby certify that on the i) day of July, 2023, a true and correct copy
                                                                                    of the foregoing
instrument was deposited in the United States mail, to the following persons,
                                                                               postage prepaid, first
class:




Integris Health, Inc.
c/o Brent Hubbard
3001 Quail Springs Parkway
Oklahoma City, Oklahoma 73134




                                              Matthew Alison
